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December 31, 2017

Hon. Anne Y. Shields
United States Magistrate Judge
United States District Court – Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

VIA ECF

               RE:          Lin v. DJ’s International Buffet Inc.
                            Case No. 17-CV-4994 (JS) (AYS)

             REQUEST FOR ADJOURNMENT OF INITIAL CONFERENCE

Dear Honorable Judge Shields:

       I represent the plaintiff in the above referenced FLSA case presently before you. I am
writing to respectfully request an adjournment of the Initial Conference which is scheduled for
January 22, 2018 at 11:00 A.M.
       There have been no prior requests for adjournments in this matter. All parties agree to the
adjournment, and it does not affect any other scheduled dates.
       On December 27, 2017, I was contacted by Benjamin B. Xue, Esq., the attorney
representing the defendants, to inform me that he will be on trial on January 22, 2018. Mr. Xue
indicated that he would like an adjournment to the last week in February. I will be traveling
outside of New York from February 5 through February 23, and will be attending hearings on
February 27. Since the last week of February only has two days (the 26 th and 28th), I believe
either of these dates will accommodate our schedules, subject to the Court’s approval.
       Accordingly, and in compliance with your Honor’s Individual Practice Rules, I am
suggesting the following three dates: February 26, February 28, and March 1, 2018.
       Thanking the Court for its attention and courtesies in this matter, I remain


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Respectfully yours,
/s/ Ricardo R. Morel .
Ricardo R. Morel, Esq.
Attorney for Plaintiff

Cc via ECF:   Benjamin Xue, Esq.
              Attorney for Defendant(s)




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